     Case: 1:16-cv-11555 Document #: 21 Filed: 09/25/17 Page 1 of 1 PageID #:134

                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Carole Herbster, et al.
                                            Plaintiff,
v.                                                         Case No.: 1:16−cv−11555
                                                           Honorable Joan B. Gottschall
3550 Condominium Association, et al.
                                            Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 25, 2017:


       MINUTE entry before the Honorable Joan B. Gottschall: Defendants' Motion to
Dismiss (ECF No. [8]) Counts I and III is denied. The Motion to Dismiss Count II is
granted. A status hearing is set for October 11, 2017 at 9:30 AM. Enter Order.Mailed
notice(mjc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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